        Case 1:23-cr-00402-APM           Document 33        Filed 01/22/25       Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      Case No.: 23-CR-402(APM)
                 v.                            :
                                               :
CHARLES E. GENERAL,                            :
                                               :
               Defendant.                      :


                                 NOTICE OF WITHDRAWAL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorney Jared English,

as counsel for the United States, is terminating their appearance as counsel of record in this matter.

All other government counsel noted on the docket at the time of this filing will remain counsel for

the United States.



                                                       Respectfully submitted,

                                                      EDWARD R. MARTIN, JR.
                                                      United States Attorney
                                                      D.C. Bar No. 481866

                                               By:    /s/ Jared English
                                                      JARED ENGLISH
                                                      D.C. Bar No. 1023926
                                                      Assistant United States Attorney
                                                      601 D Street, N.W.
                                                      Washington, D.C. 20530
                                                      (202) 252-2628
                                                      Jared.English@usdoj.gov
